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Edward A. Paltzik
JOSHPE MOONEY PALTZIK LLP
1407 Broadway, Suite 4002
New York, NY 10018
Tel: (212) 344-8211
Fax: (212) 313-9478
epaltzik@jmpllp.com

Attorneys for Plaintiff


                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 AVI ALEXANDER RACHLIN,                        HON. FREDA L. WOLFSON,
                                               U.S.D.J.
                      Plaintiff,
                                               HON. TONIANNE J.
          -against-                            BONGIOVANNI, U.S.M.J.

                                               CIVIL ACTION No. 3:21-cv-
 GEORGE K. BAUMANN, in his                     15343
 official capacity as Chief of Police of
 the FREEHOLD TOWNSHIP POLICE                  CIVIL ACTION
 DEPARTMENT and FREEHOLD
 TOWNSHIP,                                     (ELECTRONICALLY FILED)

                      Defendants.

                          CERTIFICATION OF SERVICE

      I hereby certify that on September 21, 2020, I electronically filed the

following documents with the Clerk of the Court using the CM/ECF system:


      1) Notice pursuant to Local Civil Rule 7.1.1.


      I further certify that one copy of the foregoing document is being served as

                                           1
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follows on the 22nd day of September, 2021 on the following persons:

      Eric L. Harrison
      Methfessel & Werbel
      harrsion@methwerb.com

      Brian J. Chabarek
      Davison Eastman Muñoz Paone, P.A.
      bchabarek@respondlaw.com

      Attorneys for Defendants


      All by email with consent in lieu of paper copies.

      I hereby certify that the foregoing statements are true. I understand that if any

of the foregoing statements made by me are willfully false that I am subject to

punishment.

Dated: September 22, 2021

                                                     s/Edward A. Paltzik




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